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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                           December 31, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 24-30706     Roake v. Brumley
                       USDC No. 3:24-CV-517

Enclosed is an order entered in this case.

                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Roeshawn Johnson, Deputy Clerk
                                  504-310-7998
Mr. Jorge Benjamin Aguinaga
Ms. Nora Ahmed
Mr. Michael Berry
Mr. Talmadge Butts
Mr. Joseph Carl Cecere Jr.
Mr. Joseph Charles Davis
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Mr. Zachary Faircloth
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Mr. Jonathan K. Youngwood
